                         Case 2:21-mj-00017-NJK Document 7 Filed 01/08/21 Page 1 of 1

AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Nevada

                   United States of America                                    )
                              v.                                               )       Case No. 2:21-mj-00017-NJK
                                                                               )
                  TRAVION QUINN HALL                                           )       Charging District:         District of Maryland
                              Defendant                                        )       Charging District’s Case No. 8:20-cr-00233-PWG



                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: United States District Court                                                    Courtroom No.: AS ORDERED
       6500 Cherrywood Lane
       Greenbelt, MD 20770                                                             Date and Time: January 11, 2021 at 2:30 PM

         The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:          January 8, 2021
                                                                                                           Judge’s signature


                                                                                   NANCY J. KOPPE, United States Magistrate Judge
                                                                                                        Printed name and title




                                JAN 08, 2021
